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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )           Case No. 1:19-cv-02519
              v.                        )
                                        )           Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )           Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:

 Defendant                Merchant Name                          Email
 Doe 622                  *wakehe*                               wijayanto931@gmail.com
 Doe 664                  autoimage2010                          motorimage2010@gmail.com
 Doe 725                  dearmobil                              fajakhairgood@gmail.com
 Doe 743                  duabelasenti                           arizdanarto@gmail.com
 Doe 949                  nunggudilamar                          sugianhelawin@gmail.com
 Doe 988                  revt*stlea                             gal.young.prab@gmail.com
 Doe 990                  robbandiwahyud0                        robbiandiwahyudi@gmail.com
 Doe 1087                 ultrajaya                              ujayaltra@gmail.com
 Doe 1088                 umeko_s                                calestoelpida@gmail.com
 Doe 1092                 us.go-fastrust                         93priambodo@gmail.com
 Doe 1954                 w7factory                              shuxu1994@126.com

Dated: June 27, 2019
                                                                                        Respectfully submitted,

                                                                             By:    /s/ Rishi Nair

                                                                                       Rishi Nair
                                                                               ARDC # 6305871
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